            Case 4:23-cv-04155-YGR             Document 162-2      Filed 02/17/24    Page 1 of 2



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10
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11
                                        IN THE UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13
     CALIFORNIA COALITION FOR WOMEN                       CASE NO. 4:23-CV-04155-YGR
14   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
     G.M.; A.S.; and L.T., individuals on behalf of
15   themselves and all others similarly situated,
16                              Plaintiffs
                         v.                               DECLARATION OF ABBIE CZIOK
17
     UNITED STATES OF AMERICA FEDERAL                     FILED UNDER SEAL
18   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR
19   COLETTE PETERS, in her official capacity;
     FCI DUBLIN WARDEN THAHESHA JUSINO,
20   in her official capacity; OFFICER
     BELLHOUSE, in his individual capacity;
21   OFFICER GACAD, in his individual capacity;
     OFFICER JONES, in his individual capacity;
22   LIEUTENANT JONES, in her individual
     capacity; OFFICER LEWIS, in his individual
23   capacity; OFFICER NUNLEY, in his individual
     capacity, OFFICER POOL, in his individual
24   capacity, LIEUTENANT PUTNAM, in his
     individual capacity; OFFICER SERRANO, in
25   his individual capacity; OFFICER SHIRLEY, in
     his individual capacity; OFFICER SMITH, in his
26   individual capacity; and OFFICER VASQUEZ,
     in her individual capacity,
27
                               Defendants.
28
     DECLARATION OF ABBIE CZIOK
     ISO ADMIN. MOTION TO FILE UNDER SEAL
     4:23-CV-04155-YGR                                    1
            Case 4:23-cv-04155-YGR          Document 162-2        Filed 02/17/24      Page 2 of 2



 1 I, NAME, declare as follows:

 2 1. My name is Abbie Cziok, and I am an attorney of record in the above captioned case representing

 3       the United States.

 4 2. On January 17, 2024, I contacted counsel for Plaintiffs to ask if they could stipulate to filing medical

 5       records, sensitive institution management, and other private information under seal.

 6 3. I have not received a response from counsel.

 7
              I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and
 8
     correct. Executed this 16th day of February 2024, at Helena, MT.
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11                                                         ______________________________________
                                                           ABBIE CZIOK
12                                                         Assistant United States Attorney
                                                           District of Montana
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     DECLARATION OF ABBIE CZIOK
     ISO ADMIN. MOTION TO FILE UNDER SEAL
     4:23-CV-04155-YGR                                     2
